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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION
IN RE: IN PROCEEDlNGS UNDER CHAPTER 7
HOLLY LYNN BELL CASE NO: 18-11960
DEBTOR JUDGE: ROBERT E. GRANT

ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY AND
ABANDONMENT OF PROPERTY

 

The Court finds that U.S. Bank National Association, not in its individual capacity but
solely as Indenture Trustee for the C[M Trust 2017-8 Mortgage-Backed Notes, Series 2017-8
filed a motion herein in which it requested relief pursuant to 11 U.S.C § 362 and ll U.S.C.
§.554(b), so that the Creditor may accelerate its debt, foreclose its mortgage, and otherwise
pursue its contractual and state law remedies. For good cause shown, U.S. Bank National
Association, not in its individual capacity but solely as lndenture Trustee for the ClM Trust
2017-8 Mortgage-Backed Notes, Series 2017-8’ Motion for Relief from Automatic Stay and
Abandonment of Propcrty herein is granted

Therefore, pursuant to ll U.S.C § 362 it is ORDERED that the automatic stay which
issued herein be and is terminated with respect to U.S. Bank National Association, not in its
individual capacity but solely as Indenture Trustee for the CIM Trust 2017-8 Mortgage-Backed
Notes, Series 2017-8, its successors and assigns, to permit said secured creditor to take any and
all actions necessary to accelerate the balance due on this obligation, to foreclose its mortgage, to
sell the property in accordance with state laW, to apply the net proceeds to this obligation, and to
otherwise exercise its contractual and state law rights as to the real estate commonly known as

514 West Grant Street, Hartford City, IN 47348, and more particularly described as:

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Lot Number 14 in Block 4 in Hem'y B. Smith’s Addition to the Town, now City of Hartford City, Indiana.
Also known as 514 W. Grant St., Hartford City, IN 47348

IT IS FURTHER ORDERED, pursuant to ll U.S.C. § 554(b), that the Trustee’s interest
in 514 West Grant Street, Hartford City, IN 47348 is abandoned, and the trustee is ordered to
abandon this property as burdensome and of inconsequential value or benth to the estate.

It is finally ordered that the fourteen (14) day stay as provided by FRBP 4001(a) is
waived.

SO ORDERED AND ADJUDGED.

Entered:

 

Judge, United States Bankruptcy Court
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